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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           –Southern Division–


CONSTANCE COLLINS, et al.,
                                                   Case No. 1:20-cv-01225
Plaintiffs,

–v–

TRI-STATE ZOOLOGICAL PARK OF
WESTERN MARYLAND, INC., et al.,

Defendants.



                    DEFENDANTS’ JOINT AND SEVERAL
                  RULE 26(a)(1) DISCLOSURE STATEMENT

      Defendants jointly and severally, by and through undersigned counsel,

herebyprovide the following Initial Disclosure Statement pursuant to Federal Rule

of CivilProcedure 26(a)(1). Defendants make these initial disclosures based upon

information reasonably known to them as of the date hereof, and based on

informationobtained to date and available to them. If additional information should

be obtained in the future, Defendants reserve the right to modify, amend, or

otherwise supplement these disclosures.




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(A)   The name and, if known, the address and telephone number of each
      individual likely to have discoverable information that the disclosing
      party may use to support its claims or defenses, unless solely for
      impeachment, identifying the subjects of the information.

      Defendants reserve the right to rely upon their own testimony and upon the
      testimony of any and all witnesses who were identified or testified in Case
      No. 17-2148, and also intend to rely upon any and all documents produced by
      any party or witness in that case, per the prior stipulation of the parties.

      The Defendants shall further rely upon the testimony of:

      1. Gloria McFadden of the USDA, 4700 River Road, Riverdale, Maryland
      20737.

      2. Dr. Keith Gold, 3004 Emmorton Road, Abingdon, Maryland 21009.

      3. John Carden, Allegany County Animal Control, 716 Furnace Street,
      Cumberland, Maryland, 21502.

      Defendants may further rely upon the testimony of any witness identified by
      PETA or whose identity may be learned during discovery, and shall
      supplement this disclosure in such event.

(B)   A copy of, or a description by category and location of, all documents,
      data compilations, and tangible things that are in the possession,
      custody, or control of the party and that the disclosing party may use
      to support its claims or defenses, unless solely for impeachment.

      Communications with Allegany County Animal Shelter, the U.S. Department
      of Agriculture, and with the Zoo’s veterinarian Dr. Gold.

      Any and all documents identified or produced in Case No. 17-2148.

      Any APHIS inspection reports, veterinary records, or animal control records
      generated since the time of the close of discovery in Case No. 17-2148. All such
      documents are believed to be in the possession or control of the USDA, Dr.
      Gold, or Mr. Carden, respectively.

(C)   A computation of any category of damages claimed by the disclosing
      party, making available for inspection and copying as under Rule 34
      the documents or other evidentiary material, not privileged or
      protected from disclosure, on which such computation is based,
      including materials bearing on the nature and extent of the injuries
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      suffered.

      The Defendants are not seeking damages.

(D)   For inspection and copying as under Rule 34, any insurance
      agreement under which any person carrying on an insurance business
      may be liable to satisfy part of all of a judgment which may be entered
      in the action or to indemnify or reimburse for payments made to
      satisfy the judgment.

      To the best of Defendants’ knowledge, there is no insurance coverage in this
      matter.

      March 24, 2021                         Respectfully Submitted,


                                             ___s/Nevin L. Young__________
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